         Case 1:25-cv-11231-IT          Document 40       Filed 05/08/25      Page 1 of 6




                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

 ASSOCIATION OF AMERICAN UNIVERSITIES,
 et al.,

        Plaintiffs,
                                                           Case No. 25-cv-11231
                        v.

 NATIONAL SCIENCE FOUNDATION, et al .,


        Defendants.


                      MOTION FOR A PRELIMINARY INJUNCTION AND
                              FOR SUMMARY JUDGMENT

       This suit challenges an unlawful action by the National Science Foundation (“NSF”) that, if

permitted to stand, will devastate scientific research at America’s universities.

       On May 2, 2025, NSF—with no prior notice—announced a new “policy” (the “Rate Cap

Policy”) that implements a 15% cap on “indirect costs” for all future grants for institutions of higher

education (“IHEs”). Specifically, the Rate Cap Policy announces that NSF “is updating its policy

regarding the reimbursement of indirect costs in federally funded financial assistance,” and that

“[e]ffective May 5, 2025, NSF will apply a standard indirect cost rate not to exceed 15% to all grants

and cooperative agreements awarded to IHEs for which indirect costs are allowable.” The Rate Cap

Policy is clearly unlawful: It violates the governing regulations and the reasoned decisionmaking

requirements of the Administrative Procedure Act, as well as the statutes authorizing NSF to make

grants. If not enjoined, the Rate Cap Policy will result in immediate and irreversible harm to the

Plaintiffs here: the Association of American Universities (“AAU”), the American Council on

Education (“ACE”), the Association of Public and Land-grant Universities (“APLU”), and thirteen

individual colleges and universities.
         Case 1:25-cv-11231-IT          Document 40         Filed 05/08/25     Page 2 of 6




       Plaintiffs respectfully move the Court for a Preliminary Injunction and Expedited Summary
                                              1
Judgment to enjoin NSF’s unlawful action.         Plaintiffs file this combined Motion because Plaintiffs
                                                                                                           2
believe that the merits of this matter can be decided on an expedited basis and on an existing record.

If the Court sets an expedited summary judgment schedule and adjudicates that motion quickly, it may

moot the need for a separate preliminary injunction. But if the Court needs more time to reach final

judgment, a preliminary injunction should issue to prevent the proliferation of irreparable harms to
                                                                                                           3
Plaintiffs. In support of this motion, Plaintiffs anticipate filing a memorandum in support later today,

and Plaintiffs are also filing 42 Exhibits, attached hereto.

       Plaintiffs request a declaratory judgment finding the Rate Cap Policy invalid, arbitrary and

capricious, and contrary to law; and a preliminary and permanent injunction against NSF and Acting

Director of NSF Brian Stone (collectively, “Defendants”), prohibiting Defendants, their agents, and

anyone acting in concert or participation with Defendants from implementing, instituting, maintaining,

or giving effect to the Rate Cap Policy in any form; from otherwise modifying negotiated indirect cost




1
  Plaintiffs move for a preliminary injunction pursuant to Fed. R. Civ. P. 65 and for summary judgment
pursuant to Fed. R. Civ. P. 56 and 5 U.S.C. § 706. See Bos. Redevelopment Auth. v. Nat’l Park Serv.,
838 F.3d 42, 47 (1st Cir. 2016) (noting that in the administrative law context, “a motion for summary
judgment is simply a vehicle to tee up a case for judicial review and, thus, an inquiring court must
review an agency action not to determine whether a dispute of fact remains but, rather, to determine
whether the agency action was arbitrary and capricious”).
2
  Expedited resolution would be consistent with the NIH case, where the parties stipulated to entry of
final judgment based on the preliminary injunction record. See Massachusetts et al. v. Nat’l Insts. of
Health (“NIH”), No. 25-cv-10338, 2025 WL 702163 (D. Mass. Mar. 5, 2025), final judgment entered
(D. Mass. Apr. 4, 2025), appeal docketed, No. 25-1344 (1st Cir. Apr. 9, 2025).
3
 Plaintiffs have filed a motion for leave to file an overlength memorandum, which is currently pending
with the Court. See ECF No. 38.
                                                     1
          Case 1:25-cv-11231-IT        Document 40        Filed 05/08/25     Page 3 of 6




rates except as permitted by statute and regulation; and from rejecting or otherwise treating adversely

proposals for NSF funding submitted at universities’ negotiated rates rather than the 15% rate.

        Plaintiffs further request that within 24 hours of entry of the injunction, Defendants provide

written notice of the Order to all funding recipients affected by the Rate Cap Policy and that, further,

they notify the Court that they have done so within 48 hours of the Order.

        As set forth in the forthcoming memorandum of law, Plaintiffs have established that the Rate

Cap Policy is unlawful; that they will suffer irreparable harm absent relief; and that the balance of

equities and the public interest weigh strongly in favor of an injunction.



Dated: May 8, 2025                                 Respectfully submitted,

JENNER & BLOCK LLP                                 CLEMENT & MURPHY, PLLC

By: /s/ Lindsay C. Harrison                        By: /s/ Paul D. Clement

Lindsay C. Harrison (admitted pro hac vice)        Paul D. Clement (admitted pro hac vice)
Ishan K. Bhabha (admitted pro hac vice)            James Y. Xi (admitted pro hac vice)
Lauren J. Hartz (admitted pro hac vice)            Kyle R. Eiswald (admitted pro hac vice)
Elizabeth Henthorne (admitted pro hac vice)        706 Duke Street
Anjali Motgi (admitted pro hac vice)               Alexandria, VA 22314
Zachary C. Schauf (admitted pro hac vice)          Tel: (202) 742-8900
1099 New York Avenue, NW                           paul.clement@clementmurphy.com
Suite 900                                          james.xi@clementmurphy.com
Washington, DC 20001                               kyle.eiswald@clementmurphy.com
Tel: (202) 639-6865
LHarrison@jenner.com                               Attorneys for Association of American
IBhabha@jenner.com                                 Universities, Association of Public and Land-
LHartz@jenner.com                                  grant Universities, and American Council on
BHenthorne@jenner.com                              Education
AMotgi@jenner.com
ZSchauf@jenner.com

Attorneys for All Plaintiffs



                                                   2
         Case 1:25-cv-11231-IT         Document 40        Filed 05/08/25      Page 4 of 6




                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of May, 2025, I caused the foregoing to be electronically

filed with the clerk of the court for the U.S. District Court for the District of Massachusetts, by using

the CM/ECF system, which will send a notice of electronic filing to all counsel of record, a true and

correct copy of the foregoing instrument and all attachments.



                                                              /s/ Paul D. Clement
                                                              Paul D. Clement (pro hac vice)
                                                              Clement & Murphy, PLLC
                                                              706 Duke Street
                                                              Alexandria, VA 22314
                                                              Tel: (202) 742-8900
                                                              paul.clement@clementmurphy.com

Dated: May 8, 2025




                                                   3
         Case 1:25-cv-11231-IT        Document 40        Filed 05/08/25     Page 5 of 6




                               CERTIFICATE OF COMPLIANCE

       Pursuant to Local Rule 7.1(a) and Federal Rule of Civil Procedure 65(a)(1), counsel for

Plaintiffs certify that they have contacted the following individuals at the U.S. Department of Justice

by electronic mail to provide notice of this motion:

       Brian Lea
       Deputy Associate Attorney General
       brian.lea@usdoj.gov

       Nicole O’Connor
       Assistant United States Attorney, U.S. District of Massachusetts
       Nicole.O'Connor@USDOJ.GOV

       As of the time of filing, Defendants have not responded. In addition, for purposes of service,

Plaintiffs are providing this motion to the following individuals at the U.S. Department of Justice by

electronic mail:

       Eric J. Hamilton
       Deputy Assistant Attorney General, Federal Programs Branch
       eric.hamilton@usdoj.gov

       Alex Haas
       Co-Director, Federal Programs Branch
       alex.haas@usdoj.gov

       Diane Kelleher
       Co-Director, Federal Programs Branch
       diane.kelleher@usdoj.gov

       John Griffiths
       Co-Director, Federal Programs Branch
       john.griffiths@usdoj.gov

       Rayford Farquhar
       Chief, Defensive Litigation, Civil Division
       U.S. Attorney’s Office for the District of Massachusetts
       rayford.farquhar@usdoj.gov



                                                   4
        Case 1:25-cv-11231-IT   Document 40   Filed 05/08/25   Page 6 of 6




                                                 /s/ Paul D. Clement
                                                 Paul D. Clement (pro hac vice)
                                                 Clement & Murphy, PLLC
                                                 706 Duke Street
                                                 Alexandria, VA 22314
                                                 Tel: (202) 742-8900
                                                 paul.clement@clementmurphy.com

Dated: May 8, 2025




                                        5
